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                              UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

    IN RE:                                          §
                                                    §
    HIGHPOINT LIFEHOPE SPE, LLC,                    §          CASE NO. 22-50929-MMP
                                                    §
                                                    §                   Chapter 11
            DEBTOR.                                 §

          OBJECTION OF WOODBRANCH HIGHPOINT LLC TO NEW SALE
          PROCEDURES DATES AND DEADLINES REGARDING EMERGENCY
          MOTION FOR ORDER RELATING TO EXTENSION OFSALE PROCESS,
          INCLUDING CONTINUANCE OF MARCH 29, 2023 HEARING
          ONASSUMPTION AND ASSIGNMENT OF CERTAIN UNEXPIRED
          LEASES (RE: DOCKET NO. 226)

   TO THE HONORABLE MICHAEL M. PARKER, U.S. BANKRUPTCY JUDGE:

          Woodbranch Highpoint LLC, ground lessor, creditor, and party in interest

   (“Woodbranch”), files this Objection of Woodbranch Highpoint LLC to New Sale Procedures

   Dates and Deadlines regarding the Emergency Motion for Order Relating to Extension of sale

   Process, Including Continuance of March 29, 2023 Hearing on Assumption and Assignment of

   Certain Unexpired Leases (Docket No. 226) (“Motion 226”), and in support thereof would show

   the Court the following.

          1.     For the reasons stated in the Motion to Dismiss (Docket No. 241) filed by

   Woodbranch, Woodbranch objects to any further sale processes in this case, because this case

   should be dismissed, and, therefore, Woodbranch objects to the extension of dates and deadlines

   in the Motion 226.

          2.     This case only exists at this point to benefit Capital One and no other party.




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   INCLUDING CONTINUANCE OF MARCH 29, 2023 HEARING ONASSUMPTION AND ASSIGNMENT OF CERTAIN
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           3.     Capital One has had its chance to conduct a sale from the outset of this case, and

   more specifically in the last 90-120 days. That chance has concluded without any real or

   meaningful bids.

           4.     It is time for this case to conclude and for all involved to avoid (i) further burden,

   time, and expense for parties, including Woodbranch and the property tenants (Office Ally,

   SAPDM, and others), (ii) further involvement of the Court in the decision making of this case as

   may be required under the Code and thus require further expenditure of resources by the parties;

   (iii) the continued administrative obligations and expenses by the estate over the next several

   weeks or months; (iv) avoid further unnecessary monitory by the U.S. Trustee that continues for

   zero benefit of any creditors (especially in light of the Woodbranch matching carveout); and (v) the

   further expenditure of judicial resources, also for no ultimate benefit to or for a body of creditors.

           5.     Moreover, this is a zombie case at this point. The Debtor’s actions in the case are

   a mere conduit for Capital One. Mr. Honan hasn’t set foot in San Antonio during this entire case,

   and certainly not in the courtroom. The Debtor is not involved in any day-to-day operations of the

   property, any decision making about this case at this point, nor the direction and conclusion of this

   case.

           6.     Capital One possess adequate remedies outside of bankruptcy to protect its interest

   and to accomplish exactly what Capital One is getting now, but without the extra burden to and

   lack of benefit for all the other parties. Zero reason exists for this case to continue.

           7.     In the unlikely event that this case continues, and/or if any sale process is to

   continue at all, it must be done at a minimum with Woodbranch having full access to all potential

   bidders and all information, at all times, and not filtered by Capital One and MCA.



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           8.      Woodbranch will present additional arguments at the April 4 hearing.

           9.      Woodbranch reserves the right to amend and/or supplement this pleading at any

   time prior to the hearing.

           10.     It appears concurrent with the finalization and filing of this objection that

   Woodbranch has filed a pleading to address going forward revised sale procedures (Docket

   No. 259), which 61-page pleading and proposed timetable and proposed order were not

   associated with Woodbranch prior to filing.

           WHEREFORE, Woodbranch Highpoint LLC respectfully requests that the Court approve

   no further sale process and/or procedures in this case going forward, and that the Court dismiss

   this case immediately as set forth in the pending motion(s). Woodbranch requests such other and

   further relief to which it is entitled at law or in equity.


    Dated: April 3, 2023                       Respectfully submitted:

                                               WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                               By:       /s/ Jeff Carruth
                                                     JEFF CARRUTH (TX SBN:. 24001846)
                                                     3030 Matlock Rd., Suite 201
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                                               ATTORNEYS FOR
                                               WOODBRANCH HIGHPOINT, LLC




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                                 CERTIFICATE OF SERVICE
           The undersigned hereby certifies that a true and correct copy of the foregoing was
   served on February 22, 2023 (1) by electronic notice to all ECF users who have appeared
   in this case to date (2) by regular mail (without exhibits) to all parties appearing in the
   attached address list (i.e. mailing matrix) obtained from the Court’s PACER facility, as set
   forth in the attached lists.
   ANY PARTY REQUIRING A FULL-SIZED COPY OF THIS
   DOCUMENT OR ANY OF THE EXHIBITS SHOULD CONTACT
   THE UNDERSIGNED.
                                                           /s/ Jeff Carruth
                                                           JEFF CARRUTH




   OBJECTION OF WOODBRANCH HIGHPOINT LLC TO NEW SALE PROCEDURES DATES AND DEADLINES
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   ECF SERVICE LIST

   22-50929-mmp Notice will be electronically mailed to:

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